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   8                     UNITED STATES DISTRICT COURT
   9                    CENTRAL DISTRICT OF CALIFORNIA
  10                             WESTERN DIVISION
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  12   STATE OF CALIFORNIA, et al., ) Case No. CV 19-7390 DMG (AGRx)
                                       )
  13           Plaintiffs,             ) ORDER RE STIPULATION
  14                                   ) APPROVING PARTIES’
       v.                              ) STIPULATION  AS TO HHS
                                         DEFENDANTS [143]
  15   ALEJANDRO MAYORKAS,             )
       Secretary of Homeland Security, )
  16   et al.,                         )
  17                                   )
               Defendants.             )
  18                                   )
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Case 2:19-cv-07390-DMG-AGR Document 144 Filed 10/13/21 Page 2 of 2 Page ID #:5122



   1 THIS CAUSE comes before the Court upon the parties’ Stipulation Re Dismissal
   2 Without Prejudice [Doc. # 143].
   3        UPON CONSIDERATION of the parties’ resolution in the instant matter, the
   4 Court hereby ORDERS that the supplemental briefing and hearing schedule on
   5 Plaintiffs’ narrowed motion set in the Court’s previous Order [Doc. # 141] is
   6 VACATED. The parties shall file a stipulation for the dismissal of Plaintiffs’ claims
   7 against the HHS Defendants without prejudice in accordance with the parties’
   8 Stipulation.
   9        The Court will have authority to resolve disputes regarding the terms of the
  10 parties’ Stipulation.
  11        By no later than October 27, 2021, the parties shall file a Joint Status Report
  12 regarding the status of the claims against the remaining defendants.
  13 IT IS SO ORDERED.
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  15 DATED: October 13, 2021
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                                            DOLLY M. GEE
  18                                        UNITED STATES DISTRICT JUDGE
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